                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                    : No. 1:23-bk-00988-HWV
    UPTOWN PARTNERS, LP d/b/a              :
    RESIDENCES AT GOVERNOR’S               :            Chapter 11
    SQUARE, a/k/a GOVERNOR’S               :
    SQUARE APARTMENTS                      :
                                           :
                       Debtor              :

 UPTOWN PARTNERS, LP                       :
                   Movant                  :
                                           :
                  v.                       :
                                           :
 REDEVELOPMENT AUTHORITY                   :
 OF THE CITY OF HARRISBURG,                :
 CAPITAL REGION WATER, CITY                :
 OF HARRISBURG, DAUPHIN                    :
 COUNTY TAX CLAIM BUREUA                   :
 and HARRISBURG AREA SCHOOL                :
 DISTRICT                                  :
                   Respondents             :

                                         ORDER

       Upon consideration of the Motion of Uptown Partners, LP, d/b/a Residences at

Governor’s Square, a/k/a Governor’s Square Apartments (“Debtor’) to Continue the Final

Sale Hearing and the hearing on the Debtor’s Motion to Approve Auction Purchaser,

currently scheduled for September 10, 2024 at 11:00 a.m., it is:

       HEREBY ORDERED that the hearing currently scheduled for September 10, 2024

at 11:00 a.m. is continued until November 5, 2024 at ______ a.m., in the United States

Bankruptcy Court, 4th Floor, Courtroom 8, 1501 North 6th Street, Harrisburg, Pennsylvania.




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